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                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF ARKANSAS
                          FAYETTEVILLE DIVISION



CRIMINAL NO. 13-50002-002                USA v. ALFONSO MORALES

COURT PERSONNEL:                         APPEARANCES:

Judge: JIMM LARRY HENDREN                Govt. CLAY FOWLKES

Clerk: GAIL GARNER                       Deft. GREG KLEBANOFF

Reporter: THERESA SAWYER


                         SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

      (X)    Inquiry made that defendant is not under influence of
             alcohol or drugs and is able to comprehend proceedings.
      (X)   Inquiry made whether defendant is under the care of a
             physician or taking any medication and is able to
             comprehend proceedings.
      (X)    Inquiry made that defendant is satisfied with counsel.
      (X)    Court determined that defendant and counsel have had
             opportunity to read and discuss presentence investigation
             report.
      (X)   Presentence investigation report reviewed in open court.
      (X)    Defendant withdraws objection #2 in open court.
      (X)    Government moves for downward departure pursuant to
             5K1.1 - granted and 3-level departure awarded.
      (X)    Court expresses final approval of plea agreement.
      (X)    Counsel for defendant afforded opportunity to speak on
             behalf of defendant.
      (X)    Defendant afforded opportunity to make statement and
             present information in mitigation of sentence.
      (X)    Attorney for government afforded opportunity to make
             statement to court.
      (X)    Court proceeded to impose sentence as follows:

            144 months imprisonment; 3 years supervised release;
            $25,000.00 fine - interest waived.
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Criminal No. 13-50002-002

      (X)   Defendant ordered to comply with standard conditions
            of supervised release.
      (X)   Defendant ordered to comply with the following special
            conditions of supervised release:

            Submit person, residence, place of employment, and
            vehicle to a search conducted by the USPO upon request.

            Submit to inpatient/outpatient substance abuse
            testing/treatment at direction of USPO.

      (X)   Defendant ordered to pay total special assessment of
            $100.00, for count 4, which shall be due immediately.
      (X)   Counts 1, 3, and forfeiture allegation dismissed on
            motion by the government.
      (X)   Defendant advised of right to appeal sentence imposed.
      (X)   Defendant advised of right to apply for leave to appeal
            in forma pauperis.
      (X)   Defendant remanded to custody of USMS.




DATE: SEPTEMBER 4, 2013                  Proceeding began: 3:48 pm

                                                        ended: 4:33 pm
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